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WJ'D O'~ ?`?'f, i.$?§}.$PHIS
Plaintiffr
va No_ 03-2659 MI/v

UNITED STATES OF AMERICA,

v\'v\-r\-I~_rv\¢¢v

Defendant.

 

ORDER GRANTING JOINT MDTION TO ALTER OR AMEND JUDGMENT AND FOR
RELIEF FROM ORDER
ORDER VACATING JUDGMENT AND OPINION AND ORDER FROM AUGUST 4, 2005

 

Before the Court is the Joint Motion to Alter or Amend
Judgment and for Relief from Order, filed on August 18, 2005.
Good cause having been shown, the motion is GRANTED.

On August 4, 2005, the Court entered an Opinion and Order
Following Non-Jury Trial which made findings regarding
Plaintiff's entitlement to certain tax deductions. Also on
August 4, 2005, the Court entered a judgment in this case. The
parties have jointly moved to alter or amend that judgment and
for relief from judgment with respect to specified findings of
the Court's August 4, 2005, order regarding the deduction of
certain attorney's fees ($22,601) and an offset in interest paid
($1,709) by First Union on cash balances held in escrow.

The parties’ Joint Motion to Alter or Amend Judgment is

hereby GRANTED. An Amended Judgment and Amended Opinion and

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with ama 53 and;or 79(a) FRCP on ' ’OJ 5 7

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Order Following Non-Jury Trial reflecting the minor changes

agreed upon by the parties will be entered simultaneously with
this order, and the prior Judgment (Docket No. 52) and Opinion
and Order Following Non-Jury Trial (Docket No. 51) of August 4,

2005, are hereby VACATED.

So ORDERED this 52 day of September, 2005.

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JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:03-CV-02659 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honcrable J on McCalla
US DISTRICT COURT

